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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA
                                     Docket No.: I6-344-l (MJD)


United States of America.

                    Plaintiff,
                                                                   DEFENDANT'S POSITION
V                                                                  REGARDING SENTENCING


Marlyn Charles Comes,

                    Defendant.


                                              INTRODUCTION

          On December2l,2076, Marlyn Charles Comes ("Dr. Comes") was charged with one count

conspiracy to commit health care fraud in violation of 18 U.S.C. S1347 and 18 U.S.C. $1349 via

a one-count Information. On February 27,2017, Dr. Comes pled guilty to the one-count

information.

          Dr. Comes submits this memorandum in anticipation of sentencing. At sentencing Dr.

Comes     will   request a sentence   of l6 months in prison. The basis for this request is the following:

1) Dr. Comes role within the conspiracy; 2) Dr. Comes acceptance of responsibility                    and

cooperation with law enforcement; 3) Dr. Comes efforts to make amends for his crimes and

rehabilitate himself.

                                                ARGUMENT

    I.)      Pertinent Facts Regarding the Offense

          Personal Background Information

          Dr. Comes is a father, husband, son and a hardworking individual. Dr. Comes made the

    very regrettable decision of becoming involved in this criminal conspiracy but has made every
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    attempt possible to try and right his wrongs after being charged with this offense.

        Dr. Comes was born in Waterlown, South Dakota to Anna and Robert Comes. PSI at fl 10.

    Dr. Comes had many siblings and had a relatively normal upbringing while being raised on a

    hog farm. Id. Dr. Comes moved to Minnesota after he decided to attend chiropractic school

    where he met his wife, Pamela. Id. Mrs. Comes continues to support her husband                till this   day.

    Dr. Comes was employed as a chiropractor from the time he graduated from chiropractor

    school until charged with this offense. Dr. Comes is currently a father of three and loves all              of

    his children very much. He is currently employed in the field of construction and has been

    since losing his chiropractic practice. Despite the stressors             of his criminal   case and the

    uncertainty of his future he has remained employed and continues to try and provide for his

    family.

        He has been a chiropractor for       2I   years. He loves the practice of medicine and has always

    treated his patients with the best care possible.

        Pertinent Facts Regarding the Conspiracy

        The following are the facts pertinent to Dr. Comes' role within offense:

        Dr. Comes was a licensed chiropractor who owned and operated St. Paul Chiropractic in

    St. Paul, Minnesota. PSI at     l2.Inhis      role as a chiropractor, Dr. Comes treated individuals who

    were involved     in automobile accidents. Id. He was paid through his clients'                automobile

    insurance policies. Id. Dr. Comes obtained certain clients through "runners" and paid them

    referral fees for the clients provided. |     Id Referral   fees paid to runners were as much as $ 1,200

    per patient. PSI at fl 3. Sometimes referral fees were also paid to the clients of Dr. Comes. Id.

    These payments were characterizedas "transporlation" or             "interpretation" fees. Id. The clients'



| "Runners" are third parties who acted as a conduit between patients and Dr. Comes



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no-fault insurance companies paid Dr. Comes for his services.Id. Following being charged Dr.

Comes cooperated with the government and took      full responsibility for his actions in January

of 2016. PSI at fl 6. Dr. Comes was the first co-conspirator to come forward and cooperate.

   Dr. Comes explains that he became involved in this conspiracy through the use of

interpreters with some of his clients. Certain clients would request interpreters when receiving

care. Conveniently, the preferred interpreter was always present with this client when they

arrived. This interpreter would then request to be paid for interpretation services provided.

Everything began to snowball as more and more interpreters came in with patients expecting

to be paid for their services. Dr. Comes had doubts as to the legal and ethical implications of

this practice but continued on regardless. In Dr. Comes own words,    "I was naïve to think that

what I was doing was ok." Dr. Comes always performed the proper medical services on his

clients. If he ever had doubts as to the legitimacy of their medical issues he would not provide

treatment. The services were never fraudulent or unnecessary. Dr. Comes has always prided

himself on the care provided to patients regardless of how they came to St. Paul Chiropractic.

II.)   The factors enumerated in Section 21 U.S.C. $ 3553(a) support a downward
       departure from Dr. Comes' guideline sentence.

       Dr. Comes does not dispute the guideline calculation. Instead, he requests that the court

sentence   him to a sentence less than the recommended guidelines by applying the section

3553(a) factors.

       The Sentencing Guidelines should be the starting point for the district court when

sentencing a person convicted of a federal crime. Gall v. United States,552 U.S. 38, 49-50

(2007); Kimbroughv. United States,552 U.S. 85 (2007). Although the first step should be

calculating the applicable sentencing range under the Sentencing Guidelines, the sentencing

judge should not presume the sentencing range to be reasonable. Gall, 552 U.S. at 50. The


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Sentencing Guidelines are advisory, not mandatory. United States v. Booker,543 tJ.5.220,

245 (2005). The sentencing judge must make an individualized assessment based on the facts

of each case. Gall,552 U.S. at 50. Thus, the Sentencing Guidelines are but one factor the court

should consider when determining whether a sentence achieves the purposes set forth                 in   $

3553(a)(2). Kimbrough, 552 U.S. at90.

   The Supreme Court has reiterated this point, noting that "[o]ur cases do not allow a

sentencing court      to presume that a     sentence within the applicable Guidelines range is

reasonable," and that "[t]he Guidelines are not only not mandatory on sentencing courts; they

are also not to be presumed reasonable." Nelson        v. United States,555 U.S. 350,352 (2009).

   In light of its "discrete institutional strength[ ], a district court's decision to vary from the

advisory guidelines may attract greatest respect when the sentencing judge 'finds a particular

case outside the "heartland"     to which the Commission intends individual Guidelines to

apply."' Id. (quoting Ritav. United States, 557 U.S. 338, 344 (2007)). A sentencingjudge has

greater familiarity   with an individual   case and   individual defendant than the Commission or

the appeals court and is "therefore'in a superior position to find facts and judge their import

under $ 3353(a)' in each particular case." Kimbrough, 552 U.S. at574 (quoting Gall,552IJ.S.

at 597) . In considering the $   3553   (a) factors, " [a] district court is not required to recite each

of the sentencing factors under l8 U.S.C. $ 3553(a), as long as the record makes clearthat

they were considered." United States v. Powills,537 F.3d947,950 (8th Cir. 2003) (citing

United States v. Hernandez, 518 F.3d 613, 616 (8th Cir.2008)).

       Under 18 U.S.C. $ 3553(a) the Court shall impose a sentence "sufficient, but not

greater than necessary" and shall consider:

  (1) The nature and circumstances of the offense and the history and characteristics of the
      defendant;



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       (2) The need for the sentence imposed -
               a, To reflect the seriousness of the offense, to promote respect for the law, and to
                  provide just punishment for the offense;
               b. To afford adequate deterrence to criminal conduct;
               c. To protect the public from further crimes of the defendant; and
               d. To provide the defendant with needed educational or vocational training,
                  medical care, or other correctional treatment in the most effective manner;
       (3) The kinds of sentences available;
       (4) The kinds of sentence and the sentencing range established fby the Sentencing
           Commission in the Guidelinesl...
       (5) Any pertinent policy statement fissued by the Sentencing Commission]...
       (6) The need to avoid unwarranted sentence disparities among defendants with similar
           records who have been found guilty of similar conduct; and
       (7) The need to provide restitution to any victims of the offense.

       The $ 3553(a) factors support a 16-month sentence. While Dr. Comes believes that all the

   factors are in favor of a sentence below the recommended guideline range, this request is

   specifically supported by: 1) the nature and circumstances of the offense and the history and

   characteristics of the defendant; 2) the need          to impose the minimal sentence necessary to

   achieve the stated goals ofparagraph (2).

       Nature and Circumstances of the Offense

                      Dr. Comes' Role within the Offense
                 ^.
   One factor the Court should examine is Dr. Comes' role within the offense. Dr. Comes was

one doctor   within this vast conspiracy. While his actions directly contributed to the conspiracy, he

ultimately was not    a   ringleader or an organizer . He did not actively seek out runners. Runners came

to him and Dr. Comes opportunistically took advantage of their illegal services. What started as a

few clients obtained through interpreters ultimately exploded into many clients. Dr. Comes lack

ofjudgment and decision-making during this time was his greatest downfall. Further, although the

clients were obtained illegally, Dr. Comes always provided proper medical care. If Dr. Comes ever

believed that something about a potential client seemed questionable with regards to the treatment

requested, he would send them away.



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               b.       Dr.Comes'Cooperation

    Dr. Comes has cooperated fully and completely with law enforcement following the charges

in this case. His cooperation has been of great benefit to the US Attorney's Office in their efforts

to prosecute other individuals within this conspiracy.

    A federal search warrant was executed in this case on December 11, 2015. PSI at fl 6, Dr.

Comes decided to cooperate         with law enforcement   a   month later in January, 2016. Id.In fact, Dr.

Comes was the first co-conspirator          to cooperate with the government. In Speaking with law

enforcement, Dr. Comes was able to greatly help the prosecution of one Sahal Warsame. Mr.

Warsame was a runner who provided clients to Dr. Comes. Dr. Comes provided information

regarding their dealings to the government. Ultimately, the information provided proved to be

enough to convince       Mr. Warsame to enter a plea of guilty and avoid trial. While other similarly

situated chiropractors have avoided responsibility and taken their cases to trial, Dr. Comes has

been compliant from the beginning.

       History and Characteristics of the Defendant

               a.       Personal Background

       Dr. Comes is      a   hard-working individual who has no serious criminal history. He is    a   family

man who loves his wife and children very much. He is also a passionate caregiver who has always

prided himself on the excellent medical services he has provided to clients. Prior to these charges,

Dr. Comes never had a complaint made against him to the chiropractic board. He has been                     a


chiropractor for   2l   years and consistently cared for his patients with the utmost care.

       Dr. Comes loves his children, Sidney (age l9), Jake (age 15), and Avery (age 11). Dr.

Comes has served as Jake's basketball coach and been a faithful attendee of gymnastic meets and

volleyball games. He has been a friend a provider to all his children. His greatest concern is not




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what the punishment            will do to himself but more what it will           do to his children.

            Dr. Comes and his family did not live an extravagant lifestyle. Normally, one would expect

thata financial crime such as the one Dr. Comes committed would have been performed for the

sole purpose of greed. While Dr. Comes certainly made a financial                        profit from his crimes, it was

not a profit so outlandish that                it provided    himself and his family with a lavish, over the top,

lifestyle. Instead, Dr. Comes used the money to save for his children's college tuition, put away

from retirement and overall provide a normal existence for his wife and his children, In short, Dr.

Comes is not a man of expensive taste who committed this crime to fuel a certain type of lifestyle.

He is a family man who only ever wanted to provide for them.

                     b.   Familial Support

       Dr. Comes is surrounded by supportive family members who have been by his side throughout

this entire process and          will    continue to be for the rest of his life. Their dedication to him ensures

that he will always have a strong support network. These family members have submitted letters

of support on his behalf.2 Despite the grave mistakes that he has made which have led him to face

incarceration, his family has not wavered in their support. V/hile                      it will be difficult for them to

carry on     if Dr. Comes is incarcerated, they will always stand by him and support him once he is

returned to the community.

                     c.   Current Employment

           After being charged, Dr. Comes continued to be employed and provided for his family. He

continues to work in the field of construction for MPC RemodelingLLC and Hoyt Construction.

PSI at    fl 1 l. Even in the face of incarceration, Dr. Comes has managed to provide for his family
and use his skills in a positive way within the world. This is evidence that he                     will do whatever it



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    These letters of support   will   be provided to the Court prior to sentencing.



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takes to support his family and be a productive member of society. His work ethic makes him an

individual who should be allowed back in the community as soon as possible

        Need to impose the minimal sentence necessary to achieve stated goals of paragraph
        (2).

        The recommended guideline sentence in no way imposes the minimal sentence necessary

for Dr. Comes.

        First, a 16-month sentence properly reflects the seriousness of the offense and provides just

punishment. Dr. Comes does not dispute the fact that he committed this offense and takes full

responsibility. He has cooperated with the Government and has provided them with any and all

information he has about this offense and the overall conspiracy. He accepted responsibility very

early in this process. Dr. Comes even went the very impressive route of voluntarily returning every

insurance payment he received from December 2015 on. These insurance payments were all

legitimate and not obtained through the use of runners (thus Dr. Comes did not have any legal duty

to return these payments). These returns amounted to tens of thousands of dollars and was his only

source of income at the time. Dr. Comes ultimately made these returns to make his intentions clear:

that he would do whatever      it took to make this matter right again.       Given his acceptance of

responsibility and cooperation with the government, a 16-month sentence properly reflects the

seriousness of the offense and provides proper punishment.

       Second, a 16-month sentence would serve to deter criminality and would protect the public

from any future crimes. Although the issue of deterrence being served through incarceration is

certainly up for debate, Dr. Comes is not asking for the Court to sentence him to no in-custody

time because of this. Instead, Dr. Comes is asking for a 16-month sentence. A 16-month sentence

would allow Dr. Comes to provide for his family in the future and rehabilitate his life when he is

released. Dr. Comes   will put his work ethic to good   use as soon as he is back   within the community



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and resume his role as provider to his family. As one can see through the letters of support

submitted to the court, Dr. Comes' family      will desperately miss him both on an emotional level

and a financial level. Further, the financial, professional and personal hardship which has already

been dealt to Dr. Comes is more than enough to deter him from committing this crime again.

Allowing Dr. Comes to provide    a stable   life for himself and his family is crucial to deterring future

criminality. 16 months in prison for a person such as Dr. Comes would surely work to deter any

future criminal behavior.

          Based on the $ 3553(a) factors, Dr. Comes requests to be sentenced to no more than 16

months.

                                            CONCLUSION

       Dr. Comes respectfully requests to be sentenced to no more than 16 months based on the           $

3553(a) factors. He is a family man who worked hard for his medical career, only to make

extremely poor decisions with regards to the use of runners. Most importantly, Dr. Comes has not

shied away from responsibility and has always shown a willingness                to cooperate with    the

government throughout the entire process. Dr. Comes he is a perfect candidate for sentencing

outside the recommended guidelines.




Dated: January 25,2018                           s/ Joseph P. Tamburino
                                                 CAPLAN & TAMBURINO LAW FIRM, P.A.
                                                 Attorney ID #0014618
                                                 525 Lumber Exchange Building
                                                 10 South Fifth Street
                                                 Minneapolis, MN 55402
                                                 (612) 34t-4s70
                                                j tam buri no
                                                              @c aplanl aw. c o m




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